       The following cases in which the Court of Appeals issued published opinions have been
appealed to the Supreme Court:

    1. Deborah MacDougall
        v. Richard S. Levick
        Record No. 1981-14-4
        Opinion rendered by Judge McCullough on
        February 23, 2016

    2. Richard S. Levick
        v. Deborah MacDougall
        Record No. 1982-14-4
        Opinion rendered by Judge McCullough on
        February 23, 2016

    3. James Lee Frango
        v. Commonwealth of Virginia
        Record No. 1195-15-3
        Opinion rendered by Judge Russell on
        February 23, 2016

    4. Keith Alexander Mayberry
        v. Commonwealth of Virginia
        Record No. 0225-15-3
        Opinion rendered by Judge O’Brien on
        March 8, 2016

    5. Lamont Anthony Woods
       v. Commonwealth of Virginia
       Record No. 0315-15-3
       Opinion rendered by Judge Beales on
        March 8, 2016
       The following cases in which the Court of Appeals issued published opinions have been
disposed of by the Supreme Court:

    1. Robert Chianelli, Sr.
       v. Commonwealth of Virginia
       Record No. 0452-14-1
       Opinion rendered by Judge Humphreys
        on April 21, 2015
       Refused (151385)

    2. Michael Thomas Terlecki
       v. Commonwealth of Virginia
       Record No. 1681-14-2
       Opinion rendered by Chief Judge Huff
        on June 16, 2015
       Refused (151062)

    3. George Lee Hawkins
       v. Commonwealth of Virginia
       Record No. 1270-14-1
       Opinion rendered by Judge Chafin
        on August 4, 2015
       Refused (151348)
       The Supreme Court issued an opinion in the following case, which had been appealed
from this Court:

    1. Michael Allen Luttrell
       v. Samantha Mary Jo Cucco
       Record No. 1768-14-4
       Memorandum opinion rendered by Judge Alston on April 21, 2016
       Judgment of Court of Appeals reversed in part, vacated in part and remanded
        to this Court for remand to trial court for further consideration by opinion
        rendered on April 28, 2016
       (150770)
